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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                           Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiﬀ,   PLAINTIFFS’ ADMINISTRATIVE
                                                  MOTION FOR LEAVE TO FILE A REPLY
   v.                                             TO DEFENDANT META PLATFORMS,
                                                  INC.’S OPPOSITION TO ECF 129
META PLATFORMS, INC.,

                                   Defendant.




 Case No. 3:23-cv-03417-VC
  PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE A REPLY TO DEFENDANT META
                           PLATFORMS, INC.’S OPPOSITION TO ECF 129
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       Plaintiffs filed a Motion for Extension of Time to Complete Discovery (“Motion”). ECF

No. 129. Defendant, Meta Platforms Inc., filed an Opposition to the Motion. ECF No. 137. Since

the Motion was filed, there have been numerous factual developments. Many of the points raised

in the Opposition are also factually inaccurate. Given these developments, the need to address

these inaccuracies, and in light of the importance of this case, Plaintiffs respectfully ask that the

Court grant Plaintiffs’ Motion for Leave to File a Reply in support of the Motion that is attached

hereto as Exhibit A.



Dated: September 13, 2024                       By:         /s/ Joseph R. Saveri
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